Case 01-01139-AMC   Doc 20005-2   Filed 11/12/08   Page 1 of 5




                     EXHIBIT 2
             Case 01-01139-AMC        Doc 20005-2           Filed 11/12/08   Page 2 of 5


                                                                                              BMC GROUP
                                                                                   600 1st Ave., Suite 300
                                                                                          Seattle, WA 98104
                                                                                              206/516-3300
Expense Reimbursement
WR Grace
Invoice #: 21_080731


Period Ending 7/31/2008   Expense Type                                          Amount
                          B-Iinx User Fee
                                                                                $350.00
                          B-Linx/Data Storage
                                                                                $850.00
                          Document Storage
                                                                                $600.30
                          Website Hosting
                                                                                $250.00
                          Website Storage/Traffc
                                                                                $222.00

                                                                      Total $2,272.30




                                                EXHIBIT 2
               Case 01-01139-AMC   Doc 20005-2   Filed 11/12/08   Page 3 of 5




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                                                          BMC Group Inc.
                                                      600 1st Avenue Suite 300
                                                         Seattle, WA 98104
                                                         Tel: 206/516-3300
                                                         Tax ID: XX-XXXXXXX




WR Grace & Co. et al

INVOICE SUMMARY
Invoice Number                                            Production Date                    Total
Invoice # 021-20080717-1                                  7/17/2008                      $2,271.00
                                                                                                     Case 01-01139-AMC




                                                                                 Total   $2,271.00
                                                                                                     Doc 20005-2
                                                                                                     Filed 11/12/08




Wire payments may be sent to the following account:

Bank: Wells Fargo Bank
                                                                                                     Page 4 of 5




Address: 999 3rd Avenue, Seattle, WA 98104
ABA/Routing #: 121000248
Account #: 0033022633 - BMC Group


Invoice Due Upon Receipt


                                                           EXHIBIT 2
                                                                                          BMC Group Inc.
                                                                                 600 1st Avenue Suite 300
                                                                                        Seattle, WA 98104
                                                                                        Tel: 2061516-3300
                                                                                        Tax ID: XX-XXXXXXX


WR Grace & Co. et al

Production Date: 7/17/2008

Invoice #: 021.20080717.1


Job Type              Job Item                               Pages I Parties Step                       Task                         Details                                              Total

Noticing Document     01. BDNIPOC Attorneys MF 29576/29590     12 1702       DocumenUData Preparation   Mail File Setup              2 Tasks (Q $25.00 each                              $50.00
                                                                             Postage                    USPS - 1 st Class            702 Pieces (Q $.59 each                            $414.18
                                                                                                                                                                                                   Case 01-01139-AMC




                                                                             Production                 Copy                         8424 Pieces (Q $.12 each                          $1,010.88
                                                                                                        Fold and Stuff               702 Pieces (Q $.05 each                             $35.10
                                                                             Supplies                   Inkjet and Envelope - #1 0   702 Pieces (Q $.08 each                             $56.16

Noticing Document     02. BDNIPOC Individuals                 10/354         DocumenUData Preparation   Mail File Setup              1 Task (Q $25.00 each                               $25.00
                                                                             Postage                    USPS - 1st Class             354 Pieces (Q $.59 each                            $208.86
                                                                             Production                 Copy                         3540 Pieces (Q $.12 each                           $424.80
                                                                                                                                                                                                   Doc 20005-2




                                                                                                        Fold and Stuff               354 Pieces (Q $.05 each                             $17.70
                                                                             Supplies                   Inkjet and Envelope - #10    354 Pieces (Q $.08 each                             $28.32
                                                                                                                                                               .._--------_._--_.._-
                                                                                                                                                                      Total Due:   $2,27100
                                                                                                                                                                                                   Filed 11/12/08
                                                                                                                                                                                                   Page 5 of 5




                                                                                           EXHIBIT 2
                                                                                    Invoice Due Upon Receipt
